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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 JOHN WEDDE and COURTNEY                 )
 WEDDE, individually and as assignees of )
 Kenneth Glen Sheets and Angela Sheets, )
                                         )
                                           CIVIL ACTION
            Plaintiffs,                  )
                                           FILE NO. ____________________
                                         )
 v.                                      )
                                         )
 CENTRAL MUTUAL INSURANCE                )
 COMPANY,                                )
                                         )
            Defendant.                   )

                                  COMPLAINT

      Plaintiffs John Wedde and Courtney Wedde, individually and as assignees of

Kenneth Glen Sheets and Angela Sheets, file this Complaint against Central Mutual

Insurance Company (“Central Mutual”) as follows:

                    PARTIES, JURISDICTION AND VENUE

                                        1.

      John Wedde and Courtney Wedde are domiciled in and citizens of Tennessee.

                                        2.

      Central Mutual Insurance Company (“Central Mutual”) is an insurance

company formed in Ohio and with its principal place of business in Ohio. Central

Mutual is a citizen of Ohio.
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                                            3.

       There is diversity of citizenship between the parties. The amount in

controversy exceeds $75,000, exclusive of interest and costs. Jurisdiction is proper in

this Court.

                                            4.

       Central Mutual has made filings with the Georgia Office of Insurance and

Safety Fire Commissioner stating that its registered agent for service of process is C

T Corporation System, 289 S Culver St., Lawrenceville, GA 30046. Central Mutual

has been served with process in this action.

                                            5.

       The Accident, Underlying Lawsuit and the denial of coverage that form the

basis of this suit all occurred in this District. Venue in this Court is proper.

                                   THE ACCIDENT

                                            6.

       On March 26, 2022, Nathan Sheets was operating a 2015 Chevrolet Silverado.

                                            7.

       Nathan lost control of the Silverado and struck a tree. (“Accident”).

                                            8.

       Elliott Wedde was a passenger in the Silverado at the time of the Accident.

Elliott died as a proximate result of the Accident.

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                                          9.

       Elliott was the son of plaintiffs John and Courtney Wedde.

                                          10.

       Nathan is the son of assignees Kenneth and Angela Sheets.

                                          11.

       Law enforcement investigated the Accident and found Nathan to be at fault for

the Accident. Nathan was cited for violations of O.C.G.A. § 40-6-48, failure to

maintain lane, O.C.G.A. § 40-6-393(a), homicide by vehicle, and O.C.G.A. § 40-6-

391(a), operating under the influence of alcohol, drugs, or other intoxicating

substances.

                                          12.

       The Silverado was owned by Kenneth Sheets. At the time of the Accident,

Nathan was operating the Silverado with Kenneth’s permission.

                         THE UNDERLYING LAWSUIT

                                          13.

       The Weddes retained attorney Steven Leibel to recover for the death of their

son, Elliott.

                                          14.

       On October 5, 2022, Mr. Leibel filed on his clients’ behalf a lawsuit styled

John Wedde and Courtney Wedde, as Wrongful Death Claimants and Parents of

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Elliott Mason Wedde, Deceased, and John Walter Ray Wedde, as Personal

Representative of the Estate of Elliott Wedde, v. Nathan Thomas Sheets, Kenneth

Glen Sheets and Angela Sheets, State Court of Henry County, Georgia, Civil Action

File No. STSV2022001656 (“Underlying Lawsuit” and “Underlying Complaint”). A

true and correct copy of the Underlying Complaint is attached as Exhibit A.

                                         15.

      The Underlying Lawsuit alleged, inter alia, negligence on the part of Nathan.

(Exhibit A, Count I)

                                         16.

      Mr. Leibel’s investigation revealed evidence indicating that Kenneth and

Angela Sheets might have known their son had serious health problems and

substance-use issues that made him a danger behind the wheel and that they

nonetheless enabled his ability to put in danger members of the public including

passengers like Elliott.

                                         17.

      The Underlying Lawsuit alleged, inter alia, negligent entrustment against

Kenneth and Angela Sheets. (Exhibit A, Count II)




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                CENTRAL MUTUAL INSURANCE POLICIES

                                         18.

      Prior to the Accident, Central Mutual sold to Kenneth and Angela Sheets an

automobile liability insurance policy (“Primary Policy”). A true and correct copy of

the Primary Policy is attached as Exhibit B.

                                         19.

      The Primary Policy listed the 2015 Chevrolet Silverado as an insured vehicle

and had bodily injury liability limits of $250,000 per person and $500,000 per

accident. (Exhibit B, pp.1-2)

                                         20.

      The Primary Policy identifies Kenneth and Angela Sheets as insured drivers.

(Exhibit B, pp.2-3)

                                         21.

      The Primary Policy identifies Nathan as an excluded driver. (Exhibit B, p.2)

                                         22.

      The Primary Policy’s insuring agreement states, in part, as follows: “We will

pay damages for ‘bodily injury’ or ‘property damage’ for which an ‘insured’

becomes legally responsible because of an auto accident.” (Exhibit B, p.8)




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                                          23.

       The Primary Policy includes a Named Driver Exclusion Endorsement, which

states, in part, as follows:

       The Named Driver Exclusion Endorsement applies with respect to the
       “named excluded driver” indicated in the Declarations.

       …

       “Named excluded driver” means a person who is shown in the
       Declarations as a named excluded driver.

       …

       With respect to the coverages to which this endorsement applies, as
       indicated in the Declarations, we will not pay damages, expenses or loss
       arising out of the maintenance or use of any auto or trailer by the
       “named excluded driver.”

(Exhibit B, p.31)

                                          24.

       Prior to the Accident, Central Mutual sold to Kenneth Sheets and Angela

Sheets an umbrella liability insurance policy (“Umbrella Policy”). A true and correct

copy of the Umbrella Policy is attached as Exhibit C.

                                          25.

       The Umbrella Policy identifies the Primary Policy as underlying insurance.

The Primary Policy and Umbrella Policy were sold as a single package to the Sheets

and were designed to function together to protect the Sheets from various forms of

legal liability to varying degrees depending on the risk.
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                                        26.

      The Umbrella Policy also identifies Nathan as an excluded driver and also

includes a Named Driver Exclusion Endorsement, but its terms are very different

from the Named Driver Exclusion Endorsement in the Primary Policy.

                                        27.

      The Umbrella Policy’s Named Driver Exclusion Endorsement specifically

states as follows:

      The coverages provided by this Policy do not apply to “bodily injury” or
      “property damage” arising out of:

      …

      B.     The entrustment of any “auto” by an “insured” to the “named
             excluded driver.”

(Exhibit C, p.27)

                                        28.

      The Umbrella Policy excludes coverage for negligent entrustment to an

excluded driver.

                                        29.

      The Primary Policy does not exclude coverage for negligent entrustment to an

excluded driver.




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                                          30.

      The Primary Policy, unlike the Umbrella Policy, triggered Central Mutual’s

duty to defend and indemnify Kenneth and Angela Sheets for claims for negligent

entrustment in Count II of the Underlying Complaint.

                                          31.

      Because at least one claim potentially triggered coverage, Central Mutual had

the duty to defend all claims against Kenneth and Angela Sheets in the Underlying

Lawsuit.

                                          32.

      Kenneth Sheets is an insured under the Primary Policy with respect to his

liability for negligent entrustment of the insured vehicle to Nathan.

                                          33.

      Angela Sheets is an insured under the Primary Policy with respect to her

liability for negligent entrustment of the insured vehicle to Nathan.

                  CENTRAL MUTUAL DENIES COVERAGE

                                          34.

      The Primary Policy and Umbrella Policy were in effect at the time of the

Accident.

                                          35.

      Central Mutual received prompt notice of the Accident.

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                                           36.

      Central Mutual received prompt and actual notice of the Underlying Lawsuit.

                                           37.

      On June 28, 2022, prior to the filing of the Underlying Lawsuit, Central

Mutual sent a letter to Kenneth and Angela Sheets denying coverage to them with

respect to any liability that might arise out of the Accident. A true and correct copy

of the June 28 letter is attached hereto as Exhibit D.

                                           38.

      Prior to and during the Underlying Lawsuit, Mr. Leibel communicated with

Central Mutual, and Central Mutual informed him it was denying all coverage.

                                           39.

      During the Underlying Lawsuit, the Weddes sought to obtain copies of the

Central Mutual policies to evaluate Central Mutual’s coverage positions. Central

Mutual wrongfully and vexatiously resisted reasonable discovery of the policy terms

for improper purposes, forcing the Weddes to serve subpoenas and file motions that

should not have had to be served and filed had Central Mutual not acted wrongfully

and vexatiously.




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     CENTRAL MUTUAL REJECTS SETTLEMENT OPPORTUNITIES

                                          40.

       Under the Primary Policy, Central agreed to settle any claim against an insured

“as we consider appropriate.” (Exhibit B, p.10, Insuring Agreement A)

                                          41.

       On June 16, 2023, Mr. Leibel indicated to Central Mutual that he would settle

claims for the Primary Policy limits of $250,000. A true and correct copy of the

letter is attached as Exhibit E.

                                          42.

       On July 25, 2023, Mr. Leibel sent to Central Mutual a letter offering to settle

all of the Weddes’ claims against Kenneth and Angela Sheets for the Primary Policy

liability limits of $250,000 and the medical payments limits of $10,000 (“Time-

Limited Demand”). A true and correct copy of the Time-Limited Demand is

attached hereto as Exhibit F.

                                          43.

       The Time-Limited Demand offered to provide Kenneth and Angela Sheets a

limited liability release that, if accepted by Central Mutual, would have protected

Kenneth and Angela Sheets’ personal assets from all claims asserted against them in

the Underlying Lawsuit.




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                                          44.

      The Time-Limited Demand was capable of acceptance by Central Mutual.

                                          45.

      The Time-Limited Demand was a valid offer to settle claims against Kenneth

and Angela Sheets within policy limits.

                                          46.

      The Time-Limited Demand provided Central Mutual a reasonable opportunity

to settle claims against Kenneth and Angela Sheets within policy limits.

                                          47.

      The Time-Limited Demand demanded only proceeds of the Primary Policy

and made no request for any proceeds of the Umbrella Policy.

                                          48.

      By way of an email from its counsel dated August 8, 2023, Central Mutual

voluntarily undertook the duty to re-evaluate its coverage position and evaluate and

respond to the Time-Limited Demand. A true and correct copy of the August 8,

2023, email exchange is attached as Exhibit G.

                                          49.

      Counsel for Central Mutual responded to the Time-Limited Demand on

Central Mutual’s behalf and rejected the demand on August 10, 2023. A true and

correct copy of the August 10 letter is attached hereto as Exhibit H.

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                     THE SHEETS ASSIGN THEIR CLAIMS

                                          50.

      Because Central Mutual denied coverage, refused to defend, and refused to

settle, Kenneth and Angela Sheets faced the possibility of a financially ruinous

judgment against them in the Underlying Lawsuit.

                                          51.

      Although Kenneth and Nathan Sheets had additional automobile liability

coverage with State Farm Mutual Automobile Insurance Company. In light of the

facts and circumstances of the case and Central Mutual’s denial of coverage, the

State Farm policy provided insufficient protection for the Sheets family, particularly

for Angela Sheets.

                                          52.

      Abandoned by Central Mutual, Kenneth and Angela Sheets reasonably and in

good faith entered into arms-length negotiations that resulted in a Covenant Not to

Execute and Assignment of Rights (“Assignment”). A true and correct copy of the

Assignment is attached as Exhibit I.

                                          53.

      Pursuant to the Assignment, Kenneth and Angela Sheets agreed to withdraw

their answers in the Underlying Lawsuit and allow default judgment to be entered

against them. (Exhibit I, p.3)

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                       ARBITRATION AND JUDGMENT

                                         54.

      Default judgment was, in fact, entered against Kenneth and Angela Sheets,

such that all allegations against them in the Underlying Complaint are deemed

admitted.

                                         55.

      Central Mutual is collaterally estopped from relitigating allegations in the

Underlying Complaint that are deemed admitted.

                                         56.

      Under the Assignment, the parties agreed to binding arbitration to determine

damages for Count II of the Underlying Complaint.

                                         57.

      The arbitration was held on June 20, 2024, at Miles Mediation & Arbitration,

LLC, and presided over by Rex Smith. Based on witness testimony, evidence and

applicable law, arbitrator Rex Smith determined that the Weddes’ damages for Count

II of the Underlying Complaint was $22,000,000.

                                         58.

      Following arbitration, the court in the Underlying Lawsuit conducted a hearing

and was apprised of the Assignment, the arbitration and the other facts and

circumstances of the Underlying Lawsuit.

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                                         59.

       On June 26, 2024, the court in the Underlying Lawsuit approved the

arbitration result and entered judgment in favor of the Weddes and against Kenneth

and Angela Sheets in the amount of $22,000,000 for Count II of the Underlying

Complaint (“Judgment”). A true and correct copy of the Judgment is attached hereto

as Exhibit J.

                                         60.

       The Judgment accrues post-judgment interest at 11.5 percent annually.

                               COUNT 1
                       BREACH OF DUTY TO DEFEND

                                         61.

       The Weddes incorporate paragraphs 1 through 60 of this complaint as if fully

set forth herein.

                                         62.

       Kenneth and Angela Sheets performed all conditions precedent for coverage

under the Primary Policy.

                                         63.

       Central Mutual had a duty to defend Kenneth and Angela Sheets in the

Underlying Lawsuit, and Central Mutual breached that duty.




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                                          64.

       The Judgment arises naturally and according to the usual course of things from

an insurer’s breach of the duty to defend its insured. The parties to an insurance

contract would contemplate a default judgment and resulting money judgment like

the Judgment to be probable results of the breach of the duty to defend.

                                          65.

       But for Central Mutual’s failure to defend, there would have been no judgment

against Kenneth and Angela Sheets. In the alternative, but for Central Mutual’s

failure to defend, the Judgment against Kenneth and Angela Sheets would have been

for a smaller amount.

                                          66.

       Because of its breaches, Central Mutual is liable for the full amount of the

Judgment and all post-judgment interest and other damages, including nominal

damages.

                             COUNT 2
             FAILURE TO SETTLE UNDER THE COMMON LAW

                                          67.

       The Weddes incorporate paragraphs 1 through 60 of this complaint as if fully

set forth herein.




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                                         68.

      Upon receiving notice of the claim, Central Mutual had a duty to investigate

whether there was liability coverage for Kenneth and Angela Sheets and the extent of

potential legal liability for damages to which they were exposed because of the

Weddes’ claims.

                                         69.

      Central Mutual had one or more reasonable opportunities to settle the claims

against Kenneth and Angela Sheets within policy limits.

                                         70.

      Central Mutual unreasonably refused to settle the claims against Kenneth

and Angela Sheets within the applicable policy limits.

                                         71.

      Central Mutual breached its duties by failing to adequately investigate and

evaluate the claims against Kenneth and Angela Sheets, which failure to

investigate and evaluate contributed to Central Mutual’s failure to accept one or

more reasonable opportunities to settle the claims against Kenneth and Angela

Sheets within policy limits.

                                         72.

      Central Mutual failed to treat Kenneth and Angela Sheets’ interests equal to

its own interests by gambling with Kenneth and Angela Sheets’ financial interests,

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by failing to adequately investigate and by choosing to not settle a claim where its

insureds were at fault and exposed to damages.

                                            73.

       Central Mutual breached duties to its insureds, failed to act as a reasonable

prudent liability insurer, and negligently and/or in bad faith and with a specific

intent to injure failed to settle the claims.

                                            74.

       In addition, or in the alternative, Central Mutual’s negligent or bad faith

failure to settle was caused by its failure to hire and retain competent claims

professionals and by its failure to train, supervise, provide time and resources to, or

otherwise manage its claims professionals as would a reasonably prudent insurer

that was attempting to or desired to treat its insureds’ interests equal to its own

interests. All of these actions were taken with the specific intent to save money for

itself while exposing its insureds to legal liability in excess of policy limits.

                                            75.

       As a proximate result of these breaches by Central Mutual, the Judgment

was ultimately entered again Kenneth and Angela Sheets. Central Mutual is liable

for the full amount of the Judgment, plus post-judgment interest and other

damages.




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                          COUNT 3
             JUDGMENT CREDITORS’ DIRECT ACTION
        AGAINST JUDGMENT DEBTORS’ INSURANCE COMPANY

                                          76.

      The Weddes incorporate paragraphs 1 through 60 of this complaint as if

fully set forth herein.

                                          77.

      The Judgment fixes the liability of Central Mutual’s insureds, allowing The

Weddes to maintain an action directly against Central Mutual for the proceeds of

the Policy. Smith v. GEICO, 179 Ga. App. 654 (1986).

                                          78.

      Under Georgia law, “where an injured party obtains an unsatisfied judgment

against a party who has insurance covering the injuries – so that the judgment fixes

the liability of the insured party to the injured party – the injured party may bring

an action directly against the insurer to satisfy the judgment from the available

insurance proceeds.” State Farm v. Bauman, 313 Ga. App. 771, 771 (2012).

                                          79.

      Central Mutual is required to pay to the Weddes all amounts due and owing

under the terms of the Policy in partial satisfaction of the Judgment, including

post-judgment interest.




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                                  COUNT 4
                    ATTORNEYS’ FEES UNDER O.C.G.A. § 13-6-11

                                            80.

       The Weddes incorporate paragraphs 1 through 60 of their complaint as if fully

set forth herein.

                                            81.

       Central Mutual’s actions and omissions constitute bad faith, stubborn

litigiousness and have caused the Weddes unnecessary trouble and expense within

the meaning of O.C.G.A. § 13-6-11, entitling them to attorneys’ fees and other

expenses of litigation in this lawsuit.



       WHEREFORE, the Weddes pray for judgment in their favor against Central

Mutual for the following:

       A. That they have a trial by jury;

       B. That they have and recover the following:

          1. Special damages in the sum of $22,000,000, representing the principal

              amount of the judgment;

          2. All post-judgment interest accruing on the judgment;

          3. Further special damages;

          4. General damages in an amount to be determined by the enlightened

              conscious of a fair and impartial jury;
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   5. Nominal damages;

   6. Reasonable attorneys’ fees and expenses in this litigation;

   7. That all costs be taxed against Central Mutual;

   8. Pre-judgment interest; and

   9. Other and further relief as the Court may deem just and proper.


Respectfully submitted July 31, 2024.

                          /s/ Richard E. Dolder, Jr.
                          James (Jay) Sadd
                          Georgia Bar No. 622010
                          Richard E. Dolder, Jr.
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